
979 A.2d 166 (2009)
410 Md. 542
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Erika Ashanti TYNES, Respondent.
Misc. Docket AG No. 1, September Term, 2009.
Court of Appeals of Maryland.
September 2, 2009.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed herein, pursuant to Maryland Rule 16-772, it is this 2nd day of September, 2009
ORDERED, by the Court of Appeals of Maryland, that Erika Ashanti Tynes, be, and she is hereby, disbarred by consent from the practice of law in the State of Maryland, effective thirty (30) days after the date of this Order; and it is further,
ORDERED, that the Clerk of this Court, thirty (30) days after the date of this Order, shall strike the name of Erika Ashanti Tynes from the register of attorneys in this Court, and pursuant to Maryland Rule 16-772(d) shall certify to the Trustees of the Client Protection Fund of the Bar of Maryland and the clerks of all judicial tribunals in this State that the name of Erika Ashanti Tynes has been so stricken.
